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UNITED STATES DISTRICT COURT FOR THE

DISTRICT OF PUERTO RICO
UNITED STATES O A
SEATES OF ABIERICH: INDICTMENT __
v. CRIMINAL NO. 20-0103 ( PAD)...?=:
[1] JOHN LEWIS LAFFONT-ORDAZ, 1 Bap
[2] HENRY JOSE SEGUARA-SALINA, yore Ne is doa,
[3] CARLOS ENRIQUE CARABELLO-LUGO, | 7) ec : ; (Ui and ey

[4] JOEL JOSE FARFAN-GUERRA, and |
[5] LUIS MIGUEL PULIDO-VILLALVA, =

JT =

co
(TWO COUNTS &

Defendants.
efendants FORFEITURE ALLEGATION)

 

 

THE GRAND JURY CHARGES:
COUNT ONE
Conspiracy to Possess with Intent to Distribute a Controlled Substance
On Board a Vessel Subject to the Jurisdiction of the United States
Title 46, United States Code, Section 70503(a)(1)
Beginning on a date unknown, but until and including January 24, 2020, on the high seas,
elsewhere and within the jurisdiction of this Court,
[1] JOHN LEWIS LAFFONT-ORDAZ,
[2] HENRY JOSE SEGUARA-SALINA,
[3] CARLOS ENRIQUE CARABELLO-LUGO,
[4] JOEL JOSE FARFAN-GUERRA, and
[5] LUIS MIGUEL PULIDO-VILLALVA,
the defendants herein, did knowingly and intentionally combine, conspire, confederate and agree
with each other, and with other diverse persons unknown to the Grand Jury to commit an offense
defined in Title 46, United States Code, Section 70503, to wit: to possess with intent to distribute
five (5) kilograms or more of a mixture or substance containing a detectable amount of cocaine, a

Schedule II controlled substance, on board a vessel subject to the jurisdiction of the United States.

All in violation of Title 46, United States Code, Section 70503(a)(1).
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COUNT TWO
Possession with Intent to Distribute a Controlled Substance
On Board a Vessel Subject to the Jurisdiction of the United States; Aiding and Abetting
Title 46, United States Code, Section 70503(a)(1), and
Title 18, United States Code, Section 2
Beginning on a date unknown, but until and including January 24, 2020, on the high seas,
elsewhere and within the jurisdiction of this Court,
(1] JOHN LEWIS LAFFONT-ORDAZ,
[2] HENRY JOSE SEGUARA-SALINA,
[3] CARLOS ENRIQUE CARABELLO-LUGO,
[4] JOEL JOSE FARFAN-GUERRA, and
[5] LUIS MIGUEL PULIDO-VILLALVA,
the defendants herein, did knowingly and intentionally aid and abet each other to commit an
offense defined in Title 46, United States Code, Section 70503, to wit: to possess with intent to
distribute five (5) kilograms or more of a mixture or substance containing a detectable amount of
cocaine, a Schedule II controlled substance, on board a vessel subject to the jurisdiction of the

United States. All in violation of Title 46, United States Code, Section 70503(a)(1), and Title 18,

United States Code, Section 2.
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TITLE 46 NARCOTICS
FORFEITURE ALLEGATION
Title 46, United States Code, Section 70507

1. The allegations contained in Counts ONE and TWO of this Indictment are hereby
re-alleged and incorporated by reference for the purpose of alleging forfeiture pursuant to Title 46,
United States Code, Section 70507.

2. Pursuant to Title 46, United States Code, Section 70507, upon conviction of an
offense in violation of Title 46, United States Code, Section 70503, the defendants:

[1] JOHN LEWIS LAFFONT-ORDAZ,
[2] HENRY JOSE SEGUARA-SALINA,
[3] CARLOS ENRIQUE CARABELLO-LUGO,
[4] JOEL JOSE FARFAN-GUERRA, and
[5] LUIS MIGUEL PULIDO-VILLALVA,
shall forfeit to the United States of America property described in section 511 (a) of the
Comprehensive Drug Abuse Prevention and Control Act of 1970 (21 U.S.C. § 881(a)) that is used

or intended for use to commit, or facilitate the commission of, an offense under Title 46, United

States Code, Section 70503. All in accordance with Title 46 United States Code, Section 70507.

TRUE BILL
W. STEPHEN MULDROW
United States Attorney

AN 4) / FOREPERSON
whd Date: le Fel, 2029

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Max 7 Péréz- ep
Assistant United States Attorney

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Seth Tremble
Special Assistant United States Attorney

 

 

 
